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 Fill in this information to identify your case:

 Debtor 1                   Michael Stephen Galmor
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF TEXAS

 Case number           18-20209
 (if known)                                                                                                                                                         Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $          2,009,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             437,424.81

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $          2,446,924.81

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $             578,447.40

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $          1,611,109.06


                                                                                                                                     Your total liabilities $               2,189,556.46


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                7,799.05

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $                7,616.69

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Michael Stephen Galmor                                                     Case number (if known) 18-20209

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Michael Stephen Galmor
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

 Case number            18-20209                                                                                                                                    Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6535 US Hwy 83                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Shamrock                          TX        79079-0000                         Land                                       entire property?              portion you own?
        City                              State              ZIP Code                  Investment property                               $500,000.00                   $500,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Wheeler                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Homestead (Residence) on 175 Acres, with Bunkhouse.
                                                                                Legal Description: H and GN, Block 17, out of W/2 of Sec. 64




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       Quartz Mountain Nature Park                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       Rt. 1 Box 57                                                           Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                              Land                                            Current value of the          Current value of the
       Lone Wolf                         OK        73655-0000                                                                 entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $175,000.00                   $175,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Kiowa                                                                  Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       2 Mobile Homes at lake.
                                                                       Mobile homes are attached to property and cannot be moved.
                                                                       Legal Description:
                                                                       Tract 158 x 190.98 in Lots 1 and 2, SE Section 215-20 657/357 SWD
                                                                       1982 Solitaire Mobile Home Serial No. N868937
                                                                       SE/4 of Section 21, T5N, R20W of the Indian Base and Meridaian, Kiowa
                                                                       County, Oklahoma.

                                                                       1998 Champion Mobile Home Serial No. 4659


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       6525 US Hwy 83                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                              Land                                            Current value of the          Current value of the
       Shamrock                          TX        79079-0000                                                                 entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $35,000.00                    $35,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Wheeler                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Double Wide Mobile Home on 7.15 Acres
                                                                       Legal Description: H and GN, Block 17, Section 64, W/PT
                                                                       Mobile Home Serial No. TEX0206976/77.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 2
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.4                                                                   What is the property? Check all that apply
       Sayre, Oklahoma                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Sec 28 T10 R22                                                         Duplex or multi-unit building
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Sayre                             OK        73622-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $16,000.00                    $16,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       2 Mobile Homes:
                                                                       2005 Crystal Valley Mobile Home. Serial No. CV533411V
                                                                       2005 Hart Homes Mobile Home. Serial No. 50002


       If you own or have more than one, list here:
 1.5                                                                   What is the property? Check all that apply
       South Frontage Road                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Sayre                             OK        73622-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $18,500.00                    $18,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Building                              (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Storage Building at Sayre on 5 Acres
                                                                       WEST HALF (W1/2) of the NORTHEAST QUARTER (NE1/4) of Section
                                                                       Seventeen (17), Township Nine (9) North, Range Twenty-Three (23) West
                                                                       of Indian Meridian, Beckham County, Oklahoma.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 3
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.6                                                                   What is the property? Check all that apply
       CR 14                                                                  Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Shamrock                          TX        79079-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $320,000.00                   $320,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Wheeler                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       320 Acres. Grass Only. No Farming
                                                                       Legal Description: H and GN, Block 17, Section 88, W/2, 320 Acres


       If you own or have more than one, list here:
 1.7                                                                   What is the property? Check all that apply
       1200 S. Washington Street                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Elk City,                         OK        73644-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $20,000.00                    $20,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       House and Lots behind old shop
                                                                       Lot 1,2,5,6,7,8,9,10 in Block 134 of the Original Town of Elk City,
                                                                       Oklahoma
                                                                       and
                                                                       West 75 Feet of Lot 6,7,8,9,20, of Block 13, of the Original Town of Elk
                                                                       City, Oklahoma




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 4
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.8                                                                   What is the property? Check all that apply
       6994 US Hwy 83                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Shamrock                          TX        79079-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $25,000.00                    $25,000.00
                                                                              Timeshare
                                                                                        office and storage
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     buildings                             (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Wheeler                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Other: Office at Gin Yard
                                                                       Legal Description: H and GN, Block A-8, Section 3, 16.8 Acres


       If you own or have more than one, list here:
 1.9                                                                   What is the property? Check all that apply
       Sayre, Oklahoma                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Sayre                             OK        73662-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $480,000.00                   $480,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Farm Land: 480 Acres in Beckham County Oklahoma
                                                                       SW/4 Less 1 Acre Tract and S/2 NW/4 of Section 28. Township 10 North,
                                                                       Range 22, Beckham County, Oklahoma
                                                                       SE/4 less 8 acres, Section 29, Township 10 North, Range 22, Beckham
                                                                       County, Oklahoma
                                                                       W/2 NE/4 Section 29, Township 10 North, Range 22, Beckham County,
                                                                       Oklahoma




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 5
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.1
 0                                                                     What is the property? Check all that apply
       Intersection of CR 1320 and CR 2160                                                                                    Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Sentinel                          OK        73664-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $30,000.00                    $30,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Kiowa                                                                  Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Farm Land: 5 acres and house with barns in Kiowa County, Oklahoma


       If you own or have more than one, list here:
 1.1
 1                                                                     What is the property? Check all that apply
       Rocky Oklahoma                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Rocky                             OK        73661-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $120,000.00                   $120,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Washita                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Farm Land: 120 acres in Washita County Oklahoma
                                                                       North Half (N/2) of the South Half (S/2) of the SW Quarter of Section 34,
                                                                       Township Eight (8). Range Eighteen (18), Oklahoma.
                                                                       and
                                                                       South Half (N/2) of the South Half (S/2) of the SW Quarter of Section 34,
                                                                       Township Eight (8). Range Eighteen (18) Washita County, Oklahoma.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 6
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 Debtor 1        Michael Stephen Galmor                                                                                 Case number (if known)          18-20209

       If you own or have more than one, list here:
 1.1
 2                                                                     What is the property? Check all that apply
       NA                                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
                                                                              Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $162,000.00                   $162,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Oil Wells                             (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham/Greer                                                          Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       60 Oil Wells, Oklahoma


       If you own or have more than one, list here:
 1.1
 3                                                                     What is the property? Check all that apply
       NA                                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
                                                                              Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $108,000.00                   $108,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other     Oil Wells                             (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Beckham                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       6 Oil Wel, Oklahoma


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $2,009,500.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 7
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 Debtor 1        Michael Stephen Galmor                                                                         Case number (if known)    18-20209
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F150                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2011                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  57,000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                      $22,000.00                  $22,000.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Thunderbird                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1972                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                       NA               Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $1,000.00                   $1,000.00
                                                                     (see instructions)



  3.3    Make:       Pontiac                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      TransAm                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1976                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                       NA               Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $1,500.00                   $1,500.00
                                                                     (see instructions)



  3.4    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F-250                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1970                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                       NA               Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $1,000.00                   $1,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Aircraft                                  Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      C172 Cessna                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1955                                            Debtor 2 only                                     Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                      $8,000.00                     $8,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 8
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 Debtor 1        Michael Stephen Galmor                                                                             Case number (if known)       18-20209
  4.2    Make:       Boat                                      Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Crownline                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only                                            Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $7,500.00                    $7,500.00
                                                                     (see instructions)


  4.3    Make:       Kenner                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Boat                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only                                            Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $7,500.00                    $7,500.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $48,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Furniture and household goods at all locations                                                                                  $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV's, phones, etc.                                                                                                                $600.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Saddles, tack                                                                                                                   $1,000.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 9
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 Debtor 1          Michael Stephen Galmor                                                                                         Case number (if known)    18-20209


                                            Snakecharmer 410 shotgun (Value: $300.00)
                                            870 Remington Pump (Value: $200.00)                                                                                               $500.00


                                            Winchester 22 Automatic Rifle                                                                                                     $100.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothes                                                                                                                           $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Mother's jewelry                                                                                                                $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $8,400.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Checking Account No. 100153955
                                                                                                  Aimbank
                                                                                                  PO Box 590
                                              17.1.       Checking                                Shamrock, Texas 79079                                                       $401.82

                                                                                                  Checking Account No. 4021197
                                                                                                  First State Bank of Mobeetie
                                                                                                  PO Box 8
                                              17.2.       Checking                                Mobettie, Texas 79061                                                     $2,104.03



Official Form 106A/B                                                                       Schedule A/B: Property                                                                page 10
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 Debtor 1        Michael Stephen Galmor                                                             Case number (if known)    18-20209

                                                                            Checking Account No. 2303007560
                                                                            Happy State Bank
                                                                            711 North Main
                                      17.3.    Checking                     Shamrock, Texas 79079                                                 $17.66

                                                                            Checking Account No. 7230755
                                                                            Interbank
                                                                            PO Box 1049
                                      17.4.    Checking                     Elk City, OK 73644                                                      $0.00

                                                                            Checking Account No. 443739
                                                                            Great Plains National Bank
                                                                            PO Box 448
                                      17.5.    Checking                     Elk City, OK 79648                                                      $0.00

                                                                            Checking Account No. 395242
                                                                            Great Plains National Bank
                                                                            PO Box 448
                                      17.6.    Checking                     Elk City, OK 79648                                                      $0.00

                                                                            Savings Account No. 6865959
                                                                            Interbank
                                                                            PO Box 1049
                                      17.7.    Savings                      Elk City, OK 73644                                                      $1.30


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                   % of ownership:

                                         Galmor's/G&G Steam Services, Inc.                                 100%        %                            $0.00


                                         SGM Leasing, LLC                                                  100%        %                      Unknown


                                         SGM Management, LLC                                               100%        %                      Unknown


                                         SGM Real Estate, LLC                                              100%        %                      Unknown


                                         MSG Oil and Gas                                                   100%        %                      Unknown


                                         Galmor Land and Cattle                                            100%        %                      Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
Official Form 106A/B                                                 Schedule A/B: Property                                                        page 11
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 Debtor 1         Michael Stephen Galmor                                                                      Case number (if known)      18-20209

        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          401(k)                            401(k)- Policy No. 831418
                                                                            Mass Mutual
                                                                            PO Box 1583
                                                                            Hartford, CT 06144-1583                                                     $48,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                                Life Estates: Galmor Contribution Trust, Galmor Family Trust,
                                                Galmor Family Limited Partnership                                                                         Unknown


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..


Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 12
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 Debtor 1        Michael Stephen Galmor                                                                                          Case number (if known)         18-20209


                                                          Amount Owed to Debtor by Galmor Family Limited
                                                          Partnership.
                                                          Claim: $1,310,807.00                                                                                                  Unknown


                                                          Amount Owed to Debtor by Galmor's/G&G Steam Service,
                                                          Inc.
                                                          Claim: $2,470,135.03                                                                                                  Unknown


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                 Surrender or refund
                                                                                                                                                                   value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
        Yes. Give specific information..


                                                          Inheritance: 25% owner of Galmor Family Trust and Galmor
                                                          Family Limited Partnership                                                                                            Unknown


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $50,524.81


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.

                                                                                                                                                                  Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.


Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 13
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 Debtor 1         Michael Stephen Galmor                                                                                          Case number (if known)         18-20209
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
      No
        Yes................


                                      120 Head of Cattle                                                                                                                      $104,000.00


                                      5 Head of Horses                                                                                                                            $5,000.00


                                       84 Head of Yearlings                                                                                                                     $71,000.00


48. Crops—either growing or harvested
        No
        Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
        Yes................


                                      2004 John Deere 7820 Row Tractor and 2008 John Deere 4995
                                      Swather                                                                                                                                 $150,000.00


50. Farm and fishing supplies, chemicals, and feed
        No
        Yes................

51. Any farm- and commercial fishing-related property you did not already list
        No
        Yes. Give specific information.....



 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................               $330,000.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                                 page 14
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 Debtor 1         Michael Stephen Galmor                                                                                                Case number (if known)    18-20209

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $2,009,500.00
 56. Part 2: Total vehicles, line 5                                                                          $48,500.00
 57. Part 3: Total personal and household items, line 15                                                      $8,400.00
 58. Part 4: Total financial assets, line 36                                                                 $50,524.81
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                              $330,000.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $437,424.81               Copy personal property total              $437,424.81

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $2,446,924.81




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 15
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 Fill in this information to identify your case:

 Debtor 1                 Michael Stephen Galmor
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           18-20209
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6535 US Hwy 83 Shamrock, TX 79079                              $500,000.00                              $288,420.10      Tex. Const. art. XVI, §§ 50, 51,
      Wheeler County                                                                                                           Tex. Prop. Code §§
      Homestead (Residence) on 175                                                         100% of fair market value, up to    41.001-.002
      Acres, with Bunkhouse.                                                               any applicable statutory limit
      Legal Description: H and GN, Block
      17, out of W/2 of Sec. 64
      Line from Schedule A/B: 1.1

      2011 Ford F150 57,000 miles                                     $22,000.00                               $22,000.00      Tex. Prop. Code §§
      Line from Schedule A/B: 3.1                                                                                              42.001(a)(1), (2), 42.002(a)(9)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1970 Ford F-250 NA miles                                         $1,000.00                                 $1,000.00     Tex. Prop. Code §§
      Line from Schedule A/B: 3.4                                                                                              42.001(a)(1), (2), 42.002(a)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Furniture and household goods at all                             $5,000.00                                 $5,000.00     Tex. Prop. Code §§
      locations                                                                                                                42.001(a)(1), (2), 42.002(a)(1)
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Michael Stephen Galmor                                                                      Case number (if known)     18-20209
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     TV's, phones, etc.                                                  $600.00                                   $600.00        Tex. Prop. Code §§
     Line from Schedule A/B: 7.1                                                                                                  42.001(a)(1), (2), 42.002(a)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Saddles, tack                                                     $1,000.00                                 $1,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 9.1                                                                                                  42.001(a)(1), (2), 42.002(a)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Snakecharmer 410 shotgun (Value:                                    $500.00                                   $500.00        Tex. Prop. Code §§
     $300.00)                                                                                                                     42.001(a)(1), (2), 42.002(a)(7)
     870 Remington Pump (Value:                                                            100% of fair market value, up to
     $200.00)                                                                              any applicable statutory limit
     Line from Schedule A/B: 10.1

     Clothes                                                             $200.00                                   $200.00        Tex. Prop. Code §§
     Line from Schedule A/B: 11.1                                                                                                 42.001(a)(1), (2), 42.002(a)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Mother's jewelry                                                  $1,000.00                                 $1,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 12.1                                                                                                 42.001(a)(1), (2), 42.002(a)(6)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): 401(k)- Policy No. 831418                                $48,000.00                               $48,000.00         Tex. Prop. Code § 42.0021
     Mass Mutual
     PO Box 1583                                                                           100% of fair market value, up to
     Hartford, CT 06144-1583                                                               any applicable statutory limit
     Line from Schedule A/B: 21.1

     120 Head of Cattle                                              $104,000.00                                 $9,600.00        Tex. Prop. Code §§
     Line from Schedule A/B: 47.1                                                                                                 42.001(a)(1), (2), 42.002(a)(10)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     5 Head of Horses                                                  $5,000.00                                  2,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 47.2                                                                                                 42.001(a)(1), (2), 42.002(a)(10)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2004 John Deere 7820 Row Tractor                                $150,000.00                                 $7,100.00        Tex. Prop. Code §§
     and 2008 John Deere 4995 Swather                                                                                             42.001(a)(1), (2), 42.002(a)(3)
     Line from Schedule A/B: 49.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Michael Stephen Galmor
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           18-20209
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         First State Bank of
 2.1                                                                                                          $200,000.00               $320,000.00                     $0.00
         Mobeetie                                 Describe the property that secures the claim:
         Creditor's Name                          CR 14 Shamrock, TX 79079 Wheeler
                                                  County
                                                  320 Acres. Grass Only. No Farming
                                                  Legal Description: H and GN, Block
                                                  17, Section 88, W/2, 320 Acres
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 3                               apply.
         Mobeetie, TX 79061                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          01/1/2015                 Last 4 digits of account number        0954

         First State Bank of
 2.2                                                                                                            $82,375.15               $71,000.00           $11,375.15
         Mobeetie                                 Describe the property that secures the claim:
         Creditor's Name                           84 Head of Yearlings

                                                  As of the date you file, the claim is: Check all that
         PO Box 527                               apply.
         Wheeler, TX 79096                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Michael Stephen Galmor                                                                              Case number (if know)   18-20209
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Security Interest
       community debt

 Date debt was incurred          11/2017                     Last 4 digits of account number         1176

 2.3     Galmor Family Trust                        Describe the property that secures the claim:                  $200,000.00         $500,000.00             $0.00
         Creditor's Name                            6535 US Hwy 83 Shamrock, TX
                                                    79079 Wheeler County
                                                    Homestead (Residence) on 175
                                                    Acres, with Bunkhouse.
                                                    Legal Description: H and GN, Block
                                                    17, out of W/2 of Sec. 64
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 349                               apply.
         Shamrock, TX 79079                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          12/10/2014                  Last 4 digits of account number         NA

         Great Plains National
 2.4                                                                                                                $29,847.65         $162,000.00             $0.00
         Bank                                       Describe the property that secures the claim:
         Creditor's Name                            NA Beckham/Greer County
                                                    60 Oil Wells, Oklahoma
                                                    As of the date you file, the claim is: Check all that
         PO Box 488                                 apply.
         Elk City, OK 73648                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Security Interest
       community debt

 Date debt was incurred          09/2016                     Last 4 digits of account number         5897

         Great Plains National
 2.5                                                                                                                $17,144.70         $104,000.00             $0.00
         Bank                                       Describe the property that secures the claim:
         Creditor's Name                            120 Head of Cattle

                                                    As of the date you file, the claim is: Check all that
         PO Box 488                                 apply.
         Elk City, OK 73648                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor 1 Michael Stephen Galmor                                                                              Case number (if know)   18-20209
               First Name                  Middle Name                      Last Name


       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Security Interest
       community debt

 Date debt was incurred          09/2016                     Last 4 digits of account number         2338

 2.6     John Deere Financial                       Describe the property that secures the claim:                   $37,500.00           $150,000.00             $0.00
         Creditor's Name                            2004 John Deere 7820 Row Tractor
                                                    and 2008 John Deere 4995 Swather
                                                    As of the date you file, the claim is: Check all that
         PO Box 650215                              apply.
         Dallas, TX 75262                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Certificate of Origins
       community debt

 Date debt was incurred          2014                        Last 4 digits of account number         6634

         Wheeler County Tax
 2.7                                                Describe the property that secures the claim:                   $11,579.90           $500,000.00             $0.00
         Office
         Creditor's Name                            Real property and improvements on
                                                    Sec. 64, Sec. 88, Sec. 3, Wheeler
                                                    Co., TX
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 1060                              apply.
         Wheeler, TX 79096                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2017                        Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $578,447.40
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $578,447.40

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Michael Stephen Galmor
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF TEXAS

 Case number           18-20209
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        FOR NOTICE PURPOSES ONLY

 2.2          Oklahoma Tax Commission                                Last 4 digits of account number       0944               Unknown                    $0.00                 $0.00
              Priority Creditor's Name
              2501 North Lincoln Blvd.                               When was the debt incurred?           2018
              Oklahoma City, OK 73194
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        Ongoing Audit

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 5
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 Debtor 1 Michael Stephen Galmor                                                                             Case number (if know)           18-20209

 2.3        Texas Attorney General                                   Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            P.O. Box 12548                                           When was the debt incurred?
            Austin, TX 78711
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          FOR NOTICE PURPOSES ONLY

 2.4        U.S. Attorney General                                    Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            U.S. Department of Justice                               When was the debt incurred?
            10th & Pennsylvania Ave
            Washington, DC 20530
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          FOR NOTICE PURPOSES ONLY

 2.5        U.S. Attorney's Office                                   Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            1205 Texas Ave. Room 700                                 When was the debt incurred?
            Lubbock, TX 79401
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          FOR NOTICE PURPOSES ONLY

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 5
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 Debtor 1 Michael Stephen Galmor                                                                          Case number (if know)         18-20209

 4.1      AEG Petroleum, LLC                                         Last 4 digits of account number       7ECV                                          $180,493.71
          Nonpriority Creditor's Name
          101 SE 11th Street                                         When was the debt incurred?           2017
          Suite 304
          Amarillo, TX 79101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Deficiency.
              Yes                                                       Other. Specify   Lawsuit filed by creditor.


 4.2      Caterpillar Finanial Services Corp                         Last 4 digits of account number       1769                                             Unknown
          Nonpriority Creditor's Name
          2120 West End Avenue                                       When was the debt incurred?           2017
          Nashville, TN 37203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Deficiency.
              Yes                                                       Other. Specify   Lawsuit was filed by creditor.


 4.3      Kirby Smith Machinery, Inc.                                Last 4 digits of account number       7150                                         $1,011,166.75
          Nonpriority Creditor's Name
          6715 West Reno Avenue                                      When was the debt incurred?           12/20/2017
          Oklahoma City, OK 73137
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Deficiency.
              Yes                                                       Other. Specify   Lawsuit was filed by creditor.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
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 Debtor 1 Michael Stephen Galmor                                                                            Case number (if know)       18-20209

 4.4       PNC Finanical, LLC                                        Last 4 digits of account number         6798                                        $360,409.42
           Nonpriority Creditor's Name
           655 Business Center Drive                                 When was the debt incurred?             2017
           Suite 250
           Horsham, PA 19044
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Deficiency.
              Yes                                                       Other. Specify    Lawsuit was filed by creditor.


 4.5       Sprouse Shrader Smith                                     Last 4 digits of account number         NA                                             $9,577.05
           Nonpriority Creditor's Name
           P.O. Box 15008                                            When was the debt incurred?             2018
           Amarillo, TX 79105-5008
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Legal Services


 4.6       Underwood Law                                             Last 4 digits of account number         NA                                           $49,462.13
           Nonpriority Creditor's Name
           P.O. Box 9158                                             When was the debt incurred?             2018
           Amarillo, TX 79105
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Legal Services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Clay P. Booth                                                 Line 4.3 of (Check one):

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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 Debtor 1 Michael Stephen Galmor                                                                          Case number (if know)          18-20209

 102 East Thatcher Street                                                                                 Part 1: Creditors with Priority Unsecured Claims
 Edmond, OK 73034                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Flamm Walton Heimbach Lamm,                                   Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.C.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: J. Eric Atherholt
 794 Penllyn Pike, Suite 100
 Blue Bell, PA 19422
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Hall Estill Hardwick Gable                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 and Nelson, P.C.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 100 North Broadway, Suite 2900
 Oklahoma City, OK 73102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jerome Sepkowitz                                              Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4800 N. Lincoln Blvd.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Oklahoma City, OK 73105
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,611,109.06

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,611,109.06




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 5 of 5
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 Fill in this information to identify your case:

 Debtor 1                  Michael Stephen Galmor
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF TEXAS

 Case number           18-20209
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Melvin Gene Payne Estate                                                   Annual lease of property in Wheeler County, Texas.
               199 W. 2nd Street                                                          $7,200 Annual Payment
               Shamrock, TX 79079                                                         Just grass. No farming.




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Michael Stephen Galmor
                              First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF TEXAS

 Case number             18-20209
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           Texas           . Fill in the name and current address of that person.
                         Becky Sue Galmor                                                                     Marriage Dates : 4/2009 - 5/2014
                         Sayre, OK 73662                                                                      Debtor does not have her current
                         Name of your spouse, former spouse, or legal equivalent                              mailing address.
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Michael Stephen Galmor

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF TEXAS

Case number               18-20209                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            President/Owner
       Include part-time, seasonal, or
       self-employed work.                                         Galmor's/G&G Steam Services
                                             Employer's name       inc.
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   P.O. Box 349
                                                                   Shamrock, TX 79079

                                             How long employed there?         1 Years, 1 Months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         9,320.00        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      9,320.00               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Michael Stephen Galmor                                                                Case number (if known)    18-20209


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      9,320.00       $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      2,270.95       $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
      5e.    Insurance                                                                     5e.        $          0.00       $               N/A
      5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
      5g.    Union dues                                                                    5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,270.95       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          7,049.05       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        750.00       $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            750.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              7,799.05 + $           N/A = $          7,799.05
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         7,799.05
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Michael Stephen Galmor                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS                                                 MM / DD / YYYY

Case number           18-20209
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Grandson                             16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,247.84

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            100.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Michael Stephen Galmor                                                                    Case number (if known)      18-20209

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                              1,801.25
      6b. Water, sewer, garbage collection                                                   6b. $                                                440.89
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                190.92
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,400.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               600.00
10.   Personal care products and services                                                    10. $                                                250.00
11.   Medical and dental expenses                                                            11. $                                                330.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 900.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  155.79
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Country Club Dues                                                   21. +$                                                100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,616.69
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,616.69
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,799.05
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,616.69

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 182.36

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
